USCA Case #23-1113               Document #2083834             Filed: 11/06/2024   Page 1 of 3



                      United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                          ____________
No. 23-1102                                                     September Term, 2024
                                                                               EPA-88FR9336
                                                           Filed On: November 6, 2024
State of Utah, by and through its Governor,
Spencer J. Cox and its Attorney General,
Sean D. Reyes,

                 Petitioner

        v.

Environmental Protection Agency and
Michael S. Regan,

                 Respondents


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Consolidated with 23-1103, 23-1105,
23-1106, 23-1107, 23-1112, 23-1113,
23-1115

_____________
No. 24-1040
State of Utah, by and through its Governor,
Spencer J. Cox, and its Attorney General,
Sean D. Reyes,

                 Petitioner

        v.

Environmental Protection Agency and
Michael S. Regan, Administrator, U.S. EPA,

                 Respondents

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Consolidated with 24-1041, 24-1042
USCA Case #23-1113               Document #2083834             Filed: 11/06/2024   Page 2 of 3



                      United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                          ____________
No. 23-1102                                                     September Term, 2024

_____________
No. 24-1043
State of Oklahoma, by and through its
Attorney General, Gentner F. Drummond and
Oklahoma Department of Environmental
Quality,

                 Petitioners

        v.

Environmental Protection Agency and
Michael S. Regan, Administrator, U.S. EPA,

                 Respondents

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Consolidated with 24-1044, 24-1045, 24-1046

                                             ORDER

        Upon consideration of the joint motion to govern, it is

        ORDERED that these cases remain in abeyance pending further order of the
court. The parties are directed to file motions to govern further proceedings in these
cases within 30 days of the Supreme Court’s issuance of an opinion in Oklahoma v.
EPA, No. 23-1067 (cert. granted Oct. 21, 2024), and PacifiCorp v. EPA, No. 23-1068
(cert. granted Oct. 21, 2024).

        In the event entry of a briefing schedule is requested, proposed formats for the
briefing of these cases should be submitted. The parties are strongly urged to submit a
joint proposal and are reminded that the court looks with extreme disfavor on repetitious
submissions and will, where appropriate, require a joint brief of aligned parties with total
words not to exceed the standard allotment for a single brief. Whether the parties are
aligned or have disparate interests, they must provide detailed justifications for any




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                United States Court of Appeals
                          FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                   ____________
No. 23-1102                                              September Term, 2024

request to file separate briefs or to exceed in the aggregate the standard word
allotment. Requests to exceed the standard word allotment must specify the word
allotment necessary for each issue.


                                                       FOR THE COURT:
                                                       Mark J. Langer, Clerk

                                               BY:     /s/
                                                       Laura M. Morgan
                                                       Deputy Clerk




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